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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL

 Case No.         5:23-cv-00302-MRA (SPx)                               Date       April 30, 2024
 Title            The Trustee of the Carlos C. Reis Living Trust v. Ruin My Life, Inc. et al




 Present: The Honorable           MÓNICA RAMÍREZ ALMADANI, UNITED STATES DISTRICT JUDGE

            Gabriela Garcia                              None Present                          __________
                Deputy Clerk                       Court Reporter / Recorder                    Tape No.
            Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                       None Present                                          None Present
 Proceedings:               (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
                            LACK OF PROSECUTION

       The Court, on its own motion, hereby ORDERS plaintiff to show cause in writing no later than
May 10, 2024, why this action should not be dismissed for lack of prosecution as to all Defendants for
which default has been entered.

       As an alternative to a written response by plaintiff(s), the Court will consider the filing of the
following on or before the above date as an appropriate response to this Order:

X        Plaintiff filing a Motion for Entry of Default Judgment (F.R.Civ.P. 55)

      In addition, the Court, on its own motion, ORDERS plaintiff to show cause in writing no later than
May 10, 2024, why this action should not be dismissed for lack of prosecution as to all unserved
Defendants.

       As an alternative to a written response by plaintiff, the Court will consider the filing of one of the
following on or before the above date as an appropriate response to this Order:

X        Proof of service of summons and complaint (F.R.Civ.P. 4) (however, if the deadline to file the
         Answer has already passed, plaintiff(s) must also submit a Request for Default or Stipulation
         Extending Time to Answer)

X        Notice of Voluntary Dismissal (F.R.Civ.P. 41(a))

        Absent a showing of good cause, an action shall be dismissed if the summons and complaint have
not been served upon all defendants within 90 days after the filing of the complaint. Fed. R. Civ. P. 4
(m). It is the responsibility of the plaintiff to respond promptly to all Orders and to prosecute the action
diligently, including by filing mandatory proofs of service and stipulations or motions extending time to
respond. If necessary, the plaintiff must also pursue remedies promptly under Federal Rule of Civil
Procedure 55 upon the default of any defendant. The Court must approve all stipulations affecting the

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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

 Case No.       5:23-cv-00302-MRA (SPx)                               Date       April 30, 2024
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progress of the case. Local Rule 7-1.

       No oral argument regarding this matter will be heard unless ordered by the Court. This Order will
stand submitted upon the filing of a responsive pleading or motion on or before the date upon which a
response by the plaintiff(s) is due.

                                                                                        -     :        -
                                                       Initial of Deputy Clerk    gga




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